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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

CHRISTINE A. MCINTIRE,

individually, and as representative of a Case No:

class of similarly situated persons, and on

behalf of the PAYCHEX, INC. 401(K)

INCENTIVE RETIREMENT PLAN,

CLASS ACTION COMPLAINT
Plaintiff,
v. JURY TRIAL DEMANDED

PAYCHEX, INC.; THE PAYCHEX, INC.

401(K) INCENTIVE RETIREMENT PLAN

COMMITTEE; and DOES No. 1-10, Whose

Names Are Currently Unknown,

Defendants.
1. INTRODUCTION
1. Plaintiff, Christine A. McIntire (“Plaintiff’ or “MclIntire”), individually as a
participant of the Paychex, Inc. 401(k) Incentive Retirement Plan (“Plan”), brings this action
under 29 U.S.C. § 1132, on behalf of the Plan and a class of similarly-situated participants and
beneficiaries of the Plan, against Defendants, Paychex, Inc. (“Paychex”), the Paychex, Inc.
401(k) Incentive Retirement Plan Committee (“Administrative Committee” or “Committee”),
and Does No. I-10, who are members of the Administrative Committee and whose names are
currently unknown (collectively, “Defendants”) for breach of their fiduciary duties under the
Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. § 1001, ef seq., and related
breaches of applicable law beginning six years from the date this action is filed and continuing to
the date of judgment (the “Class Period”).
2. Defined contribution plans that are qualified as tax-deferred vehicles under

Section 401 of the Internal Revenue Code, 26 U.S.C. §§ 401(a) and (k) (i-e., 401(k) plans), have

become the primary form of retirement savings in the United States and, as a result, America’s
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de facto retirement system. Unlike traditional defined benefit retirement plans, in which the
employer typically promises a calculable benefit and assumes the risk with respect to high fees
or under-performance of pension plan assets used to fund defined benefits, 401(k) plans operate
in a manner in which participants bear the risk of high fees and investment underperformance.

3. The importance of defined contribution plans to the United States retirement
system has become pronounced as employer-provided defined benefit plans have become
increasingly rare as an offered and meaningful employee benefit.

4, As of December 31, 2018, the Plan had 14,528 participants with account balances
and assets totaling over $1.1 billion, placing it in the top 0.1% of all 401{k) plans by plan size.!
Defined contribution plans with substantial assets, like the Plan, have significant bargaining
power and the ability to demand low-cost administrative and investment management services
within the marketplace for administration of 401(k) plans and the investment of 401(k) assets.
The marketplace for 401(k) retirement plan services is well-established and can be competitive
when fiduciaries of defined contribution retirement plans act in an informed and prudent fashion.

5. Paychex maintains the Plan, and is responsible for selecting, monitoring, and
retaining the service provider(s) that provide investment, recordkeeping, and other administrative
services. Paychex is a fiduciary under ERISA, and, as such, is obligated to (a) act for the
exclusive benefit of participants, (b) ensure that the investment options offered through the Plan
are prudent and diverse, and (c) ensure that Plan expenses are fair and reasonable.

6. Defendants have breached their fiduciary duties to the Plan and, as detailed
below, have: (1) failed to fully disclose the expenses and risk of the Plan’s investment options to

participants; (2) allowed unreasonable expenses to be charged to participants for administration

 

'The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2016 (pub. June 2019).
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of the Plan; and (3) selected, retained, and/or otherwise ratified high-cost and poorly-performing
investments, instead of offering more prudent alternative investments when such prudent
investments were readily available at the time that they were chosen for inclusion within the Plan
and throughout the Class Period (defined below).
7. To remedy these fiduciary breaches and other violations of ERISA, Plaintiff
brings this class action under ERISA Sections 409 and 502, 29 U.S.C. §§ 1104, 1109 and 1132,
to recover and obtain all losses resulting from each breach of fiduciary duty. In addition,
Plaintiff seeks such other equitable or remedial relief for the Plan and the proposed class (the
“Class”) as the Court may deem appropriate and just under all of the circumstances.
8. Plaintiff specifically seeks the following relief on behalf of the Plan and the Class:
a. A declaratory judgment holding that the acts of Defendants described
herein violate ERISA and applicable law;
b. A permanent injunction against Defendants prohibiting the practices
described herein and affirmatively requiring them to act in the best

interests of the Plan and its participants;

c. Equitable, legal or remedial relief for all losses and/or compensatory
damages;

d. Attorneys’ fees, costs and other recoverable expenses of litigation; and

e. Such other and additional legal or equitable relief that the Court deems

appropriate and just under all of the circumstances.
Il. THE PARTIES
9. Plaintiff is a former employee of Paychex and participant in the Plan under 29

U.S.C. § 1002(7). Plaintiff is a resident of Cardington, Ohio.

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10. Paychex is a public Delaware corporation headquartered in Rochester, New York.
Paychex provides payroll, human resource, and employee benefit management services to
employers.

11. The Administrative Committee, is the Plan Administrator and is a fiduciary under
ERISA pursuant to 29 U.S.C. §§ 1002 and 1102. The Administrative Committee maintains its
address at Paychex’s corporate headquarters in Rochester, New York. The Administrative
Committee and its members are appointed by Paychex’s Chief Executive Officer to administer
the Plan on Paychex’s behalf.

12. Does No. 1-10 are the members of the Administrative Committee and, by virtue
of their membership, fiduciaries of the Plan. Plaintiff is currently unable to determine the
membership of the Administrative Committee despite reasonable and diligent efforts because it
appears that the membership of the Administrative Committee is not publicly available. As such,
these Defendants are named Does 1-10 as placeholders. Plaintiff will move, pursuant to Rule 15
of the Federal Rules of Civil Procedure, to amend this Complaint to name the members of the
Administrative Committee and other responsible individuals as defendants as soon as their
identities are discovered.

III. JURISDICTION AND VENUE

13. Plaintiff seeks relief on behalf of the Plan pursuant to ERISA’s civil enforcement
remedies with respect to fiduciaries and other interested parties and, specifically, under 29
U.S.C. § 1109 and 29 U.S.C, § 1132.

14. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 because this action arises under the laws of the United States.
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15. Venue is proper in this District pursuant to ERISA Section 502(e), 29 U.S.C. §
1332(e), and 28 U.S.C. § 1391 because Paychex’s principal place of business is in this District.
Furthermore, a substantial part of the acts and omissions giving rise to the claims asserted herein

occurred in this District.
IV. FACTUAL ALLEGATIONS
A. Background And Plan Structure

16. The Plan is a participant-directed 401({k) plan, in which participants direct the
investment of their contributions into various investment options offered by the Plan. Each
participant’s account is credited with the participant contributions, employer matching
contributions, any discretionary contributions, and earnings or losses thereon. The Plan pays
Plan expenses from Plan assets, and the majority of administrative expenses are paid by
participants as a reduction of investment income. Each participant’s account is charged with the
amount of distributions taken and an allocation of administrative expenses. The available
investment options for participants of the Plan include various mutual funds, a variable annuity
fund, and Paychex common stock,

17. The Plan offers participants a personalized planning and advice service through
the Plan’s recordkeeper, Fidelity Management Trust Company, for an additional fee. The
personalized planning and advice service automatically allocates funds into Plan investments on
behalf of participants that have elected to use the service.

18. Mutual funds are publicly-traded investment vehicles consisting of a pool of
monetary contributions collected from many investors for the purpose of investing in a portfolio
of equities, bonds, and other securities. Mutual funds are operated by professional investment

advisers, who, like the mutual funds, are registered with the Securities and Exchange
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Commission (“SEC”). Mutual funds are subject to SEC regulation, and are required to provide
certain investment and financial disclosures and information in the form of a prospectus.

19. _ A variable annuity insurance contract offers participants the option to receive a
guaranteed stream of payments at regular intervals during retirement years at amounts
determined by the performance of the underlying portfolio. At retirement, participants have the
option to receive payout via annuitization or as a single lump sum. The guarantee of the payout
is subject to the long-term financial health of the issuing insurance company. The Plan’s
variable annuity option was closed to new investments effective February 27, 2012.

20. The Plan operates, in part, as an employee stock ownership plan (“ESOP”), which
enables Paychex employees to acquire an ownership interest in the company through units of the
Paychex ESOP Stock Fund. The fund operates as a unitized fund, meaning participant accounts
invest in units which represent a pro rata interest in the Plan’s investment in Paychex stock and
cash or cash equivalents, which are held in a trust fund.

21. During the Class Period, Plan assets were held in a trust by the Plan Trustee,
Fidelity Management Trust Company. All investments and asset allocations are performed
through this trust instrument.

B. Defendants’ Breaches of Fiduciary Duties

22. As discussed in detail below, Defendants have severely breached their fiduciary
duties of prudence and/or loyalty to the Plan. Plaintiff did not acquire actual knowledge
regarding Defendants’ breaches at issue here until shortly before this Complaint was filed.

1. The Plan’s Investment in the Fidelity Freedom Funds
23. | Among other investments, the Plan lineup offers a suite of 13 target date funds. A

target date fund is an investment vehicle that offers an all-in-one retirement solution through a
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portfolio of underlying funds that gradually shifts to become more conservative as the assumed
target retirement year approaches. Target date funds offer investors dynamic, easy asset
allocation, while providing both long-term growth and capital preservation. All target date funds
are inherently actively managed, because managers make changes to the allocations to stocks,
bonds and cash over time. These allocation shifts are referred to as a fund’s glide path. The
underlying mutual funds that target date fund managers choose to represent each asset class can
be actively or passively managed.

24. According to the Plan’s Form 5500s,? since at least December 31, 2009,? the Plan
has offered the Fidelity Freedom fund target date suite. Fidelity Management & Research
Company (“Fidelity”) is the second largest target date fund provider by total assets. Among its
several target date offerings, Fidelity’s two most popular are the Freedom funds (the Active
suite”) and the substantially less costly Freedom Index funds (the “Index suite”). Defendants
were responsible for crafting the Plan lineup and could have chosen any of the target date
families offered by Fidelity, or those of any other target date provider. Defendants failed to
compare the Active and Index suites and consider their respective merits and features. A simple
weighing of the benefits of the two suites indicates that the Index suite is a far superior option,
and consequently the more appropriate choice for the Plan. Had Defendants carried out their
responsibilities in a single-minded manner with an eye focused solely on the interests of the

participants, they would have come to this conclusion and acted upon it. Instead, Defendants

 

The Form 5500 is the annual report that 401(k) plans are required to file pursuant to the reporting requirements of
ERISA.

3The Form 5500 provides a detailed schedule of the Plan’s holdings at the end of each calendar year. The suite of
Fidelity Freedom funds appear as a Plan investment option as far back as the 2009 Form 5500, the earliest publicly
available filing.

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failed to act in the sole interest of Plan participants, and breached their fiduciary duty by
imprudently selecting and retaining the Active suite.

25. The two fund families have nearly identical names and share a management
team.’ But while the Active suite invests predominantly in actively managed Fidelity mutual
funds,* the Index suite places no assets under active management, electing instead to invest in
Fidelity funds that simply track market indices. The Active suite is also dramatically more
expensive than the Index suite, and riskier in both its underlying holdings and its asset allocation
strategy. Defendants’ decision to add the Active suite over the Index suite, and their failure to
replace the Active suite with the Index suite at any point during the Class Period, constitutes a
glaring breach of their fiduciary duties.

26.  Exacerbating Defendants’ imprudent choice to add and retain the Active suite is
its role as the Plan’s Qualified Default Investment Alternative (“QDIA”). A retirement plan can
designate one of the investment offerings from its lineup as a QDIA to aid participants who lack
the knowledge or confidence to make investment elections for their retirement assets; if
participants do not direct where their assets should be invested, all contributions are
automatically invested in the QDIA. Plan fiduciaries are responsible for the prudent selection
and monitoring of an appropriate QDIA. The Fidelity Freedom fund with the target year that is
closest to a participant’s assumed retirement age (age 65) serves as the QDIA in the Plan.

27. Given that the vast majority of plan participants are not sophisticated investors,
many of the Plan participants, by default, concentrate their retirement assets in target date funds.

As such, the impact of Defendants’ imprudent selection of target date funds is magnified vis-a-

 

‘Both target date suites have been managed by Brett Sumsion and Andrew Dierdorf since 2014, Finola McGuire
Foley was added to the Index suite team in 2018.
>Per Morningstar, the Active suite’s underlying holdings are 88.8% actively managed, by asset weight.

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vis other asset categories. Indeed, by December 31, 2018, approximately 21% of the Plan’s
assets were invested in the Active suite.
i. The Active Suite is High-Risk and Unsuitable for Pian Participants

28. The Active suite chases returns by taking levels of risk that render it unsuitable
for the average retirement investor, including participants in the Plan, and particularly those
whose savings were automatically invested through the QDIA. At first glance, the equity glide
paths of the two fund families (meaning the Active suite and Index suite) appear nearly identical,
which would suggest both target date options have a similar risk profile. However, the Active
suite subjects its assets to significantly more risk than the Index suite, through multiple avenues.
At the underlying fund level, where the Index suite invests only in index funds that track
segments of the market, the Active suite primarily features funds with a manager deciding which
securities to buy and sell, and in what quantities.

-29. The goal of an active manager is to beat a benchmark—usually a market index or
combination of indices — by taking on additional risk. Market research has indicated that
investors should be very skeptical of an actively managed fund’s ability to consistently
outperform its index, which is a significant concern for long-term investors saving for retirement,
like the Plan participants in this action. Actively managed funds tend to charge higher fees than
index funds (which are passed on to the target date fund investor through higher expense ratios).
These extra costs present an additional hurdle for active managers to clear in order to provide
value and compensate investors for the added risk resulting from their decision-making. Indeed,
Morningstar has repeatedly concluded that “in general, actively managed funds have failed to

survive and beat their benchmarks, especially over longer time horizons.”® Although they may

 

How Actively and Passively Managed Funds Performed: Year-End 2018”;
https://www.morningstar.com/insights/2019/02/12/active-passive-funds.

     
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experience success over shorter periods, active fund managers are rarely able to time the market
efficiently and frequently enough to outperform the market. The Active suite’s allocation to
primarily actively managed funds subjects investor dollars to the decision-making skill and
success, or lack thereof, of the underlying managers and the concomitant risk associated with
these investments.

30.  Atall times across the glide path, the Active suite’s top three domestic equity
positions were and are in Fidelity Series funds (funds created for exclusive use in the Freedom
funds), two of which have dramatically trailed their respective indices over their respective
lifetimes. The Intrinsic Opportunities Fund, which is currently allocated 8.2% of the total assets
in the 2040-2060 Funds, has, over its lifetime, missed its benchmark, the Russell 3000 Index, by
an astonishing 256 basis points (2.56%). The Large Cap Stock Fund, which is currently
allocated 7.28% of the total assets in the 2040-2060 Funds, has suffered even worse
underperformance; its lifetime returns trail that of its benchmark, the S&P 500 Index, by 324
basis points (3.24%). The portfolio of the Active suite is diversified among 32 underlying
investment vehicles; the two aforementioned series funds represent over 15% of the 2040
through 2060 vintages, meaning for at least 20 years, 15% of investor dollars are subject to the
poor judgment exercised by just those two managers.

31. | Compounding the level of risk inherent in the Active suite’s underlying holdings
is the suite’s managers’ approach to portfolio construction and asset allocation decisions.
Returning to the equity glide paths discussed above, the Active and Index suites appear to follow
essentially the same strategy. The chart below shows the percentage of assets devoted to equities

in each vintage.
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Equity Glide Path
Years to Target Retirement Year
Series 40 35 30 25 20 15.10 5 O -5 -10 -15 -20
Fidelity Freedom 90 90/90 90 89 78' 65 58 53 43 35 24 24

Fidelity Freedom Index | 90 90/90 90 90 80 65 59 52 43 34 24 24
This chart only considers the mix of the portfolio at the level of stocks, bonds and cash. A
deeper examination of the sub-asset classes of the Active suite’s portfolio, however, exposes the
significant risks its managers take to boost returns. Across the glide path, the Active suite
allocates approximately 1.5% more of its assets to riskier international equities than the Index
suite. The Active suite also has higher exposure to classes like emerging markets and high yield
bonds.

32. Since the Active suite series underwent a strategy overhaul in 2013 and 2014, its
managers have had the discretion to deviate from the glide path allocations by 10 percentage
points in either direction. In a departure from the accepted wisdom that target date funds should
maintain pre-set allocations, Fidelity encouraged its portfolio managers to attempt to time market
shifts in order to locate underpriced securities, which the firm dubs “active asset allocation.”
This strategy heaps further unnecessary risk on investors, such as Plan participants, in the Active
suite. A March 2018 Reuters special report’ on the Fidelity Freedom funds (the “Reuters
Report”) details how many investors lost confidence in the Active suite “because of their history
of underperformance, frequent strategy changes and rising risk.” The report quotes a member of
Longfellow Advisors, who told Reuters that, after the 2014 changes, “it was not clear to us that
[the managers of the Active suite] knew what they were doing.” While many target date fund

managers are increasing exposure to riskier investments in an effort to augment performance by

 

™Special Report: Fidelity puts 6 million savers on risky path to retirement”, https://www.reuters.com/article/us-funds-
fidelity-retirement-special-rep/special-report-fidelity-puts-6-million-savers-on-risky-path-to-retirement-
id USKBNIGHISL

       

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taking on additional risk, the president of research firm, Target Date Solutions, states that the
Active suite has gone further down this path than its peers. Morningstar has noted in the past
that active management has hindered the Active suite’s performance, criticizing a previous poor
decision to heavily weight to commodities. Morningstar similarly characterized Fidelity’s shifts
in the allocation of stocks between 1996 and 2010 as “shocking” and “seemingly chaotic.” Yet,
since 2014, a fund family with a history of poor decisions has been given “carte blanche” to take
further risks, to the severe detriment of the Plan and its participants.

33. This desire and latitude to assume more risk exposes investors in what Fidelity
brands “a lifetime savings solution” to significant losses in the event of volatility similar to the
downturn experienced during the COVID-19 epidemic. Morningstar analyst Jeff Holt opines
that the popularity of target date funds derives from investors’ belief that the funds are designed
to “not lose money.” As a result, the average unsophisticated investor, such as the typical
participant in the Plan, tends to gravitate toward the all-in-one savings solution a target date fund
offers. Given this reality, Plan participants should be shielded from the riskiest fund families
where active manager decisions could amplify losses in periods of market decline. The Active
suite’s lack of downside protection has been magnified by the current COVID-19 crisis, and has
been felt most sharply by Plan participants approaching their target date, because Plan
participants close to retirement age do not have ample time to recoup significant losses before
they start withdrawing their retirement savings. The more conservative Fidelity Freedom Index
2020 Fund has handied the current volatility well, with year to date returns through June 24,

2020 ranking in the 29th percentile among other 2020 target date funds.’ In stark contrast, the

 

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°For Morningstar’s peer group rankings, 1* percentile is the best performers.

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Fidelity Freedom 2020 Fund (i.e., part of the Active suite), in which the Plan had over $14
million at the end of 2018, ranks in the 68th percentile among the same peer group.
ti. The Active Suite’s Considerable Cost

34. | Even a minor increase in a fund’s expense ratio (the total annual cost to an
investor, expressed as a percentage of assets) can considerably reduce long-term retirement
savings. The fees charged by the Active suite are many multiples higher than the Index suite’s
industry-leading low costs. While the Institutional Premium share class for each target year of
the Index suite charges a mere 8 basis points (0.08%), the K share class of the Active suite—

which the Plan offers—has expense ratios ranging from 42 basis points (0.42%) to 65 basis

points (0.65%).
Cost Comparison
Freedom Suite Ticker Exp Rat Freedom Index Suite Ticker |Exp Rat Difference
Income K FNSHX |) 0.42% Income inst Prem FFGZX | 0.08% -0.34%
2005 K FSNJX = 0.42% 2005 Inst Prem FFGFX | 0.08% -0.34%
2010 K FSNKX 0.46% 2010 Inst Prem FFWTX, 0.08%  -0.38%
2015 K FSNLX 0.49% 2015 Inst Prem FIWFX 0.08%  -0.41%
2020 K FSNOX, 0.53% 2020 Inst Prem FIWTX 0.08%  -0.45%
2025 K FSNPX 0.56% 2025 Inst Prem FFEDX | 0.08%  -0.48%
2030 K FSNQX | 0.60% 2030 Inst Prem FFEGX | 0.08%) -0.52%
2035 K FSNUX) 0.63% 2035 Inst Prem FFEZX 0.08% -0.55%
2040 K FSNVX 0.6596 2040 Inst Prem FFIZX 0.08%! -0.57%
2045 K FSNZX | 0.65% 2045 Inst Prem FFOLX 0.08%, -0.57%
2050 K FNSBX | 0.65% 2050 Inst Prem FFOPX | 0.08%) -0.57%
2055 K FNSDX 0.65% 2055 Inst Prem FFLDX | 0.08% -0.57%
2060 K FNSFX | 0.65% ' 2060 Inst Prem FFLEX 0.08%)! -0.57%

35. The higher fee, charged by the 2040 through 2060 Active funds, represents an
annual cost to investors that is over eight times higher than what shareholders of the
corresponding Index fund pay. The impact of such high fees on participant balances is
aggravated by the effects of compounding, to the significant detriment of participants over time.

This effect is illustrated by the below chart, published by the SEC, showing the 20-year impact

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on a balance of $100,000 by fees of 25 basis points (0.25%), 50 basis points (0.50%), and 100

basis points (1.00%).

Portfolio Value From Investing $100,000 Over 20 Years

$220,000

In 20 years, 0.50% annual fees reduce
$210,000 portfolio valuc (red line) by $10,000
$200,000 compared toa portfolio with a0.25%%

annual fee (blue linc).
$190,000
$180,000 In 20 years, 1.00% annual fees reduce
. portfolio value (green line) by nearly

$170,000 $30,000, compared to a portfolio with
$160,000 a 0.25% annual fee (blue linc).
$156,000
$140,000 9 ~—"4% annual return less 0.25%
$130,000 spoual ice

7 ——4% annual return less 0.50%
$120,000 annual fee

$110,000 —— 4% annual return less 1.00%
$100,000 annual fee
2013 2015 2017 2019 2021 2023 2025 2027 2029 2031 2033

 

36. Higher fees significantly reduce retirement account balances over time.
Considering just the gap in expense ratios from the Plan’s current investment in the Active suite
to the Institutional Premium share class of the Index suite, in 2018 alone, the Plan could have
saved approximately $1.24 million in costs. This tremendous cost difference goes straight into
Fidelity’s pockets and is paid for by Plan participants. As the costs for recordkeeping services
have dropped precipitously over the past decade,'® recordkeepers like Fidelity have been forced
to chase profits elsewhere. The management fees derived from a plan’s use of a provider’s
investment offerings substantially trump any compensation for recordkeeping services. Thus,
Fidelity is heavily incentivized to promote its own investment products, specifically those that

charge the highest fees, to each plan for which it recordkeeps, including the Plan.

 

'“NEPC: Corporate Defined Contribution Plans Report Flat Fees,”https://www.nepc.com/press‘nepe-corporate-
defined-contribution-plans-report-flat-fees,

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iti. Investors Have Lost Faith in the Active Suite

37. The flow of funds to, or from, target date families constitutes one indicator of the
preferences of investors at large. According to Morningstar’s report on the 2019 Target Date
Fund Landscape,’! investor demand for low-cost target date options has skyrocketed in recent
years. Following suit, the Index suite has seen significant inflows, receiving an estimated $4.9
billion in new funds in 2018 alone. At the same time, investor confidence in the Active suite has
deteriorated; 2018 saw the series experience an estimated $5.4 billion in net outflows. The
movement of funds out of the Active suite has been substantial for years; the Reuters Report
notes that nearly $16 billion has been withdrawn from the fund family over the prior four years.
Defendants’ act, in offering and maintaining the Active suit in the Plan, evidences their failure to
acknowledge, or act upon, investors’ crumbling confidence in the Active suite, while ignoring
the simultaneous and justified surge in faith in the Index suite.

iv. The 5-Star Index Suite

38. | Morningstar assigns each mutual fund in its extensive database a star rating,
which is a “purely mathematical measure that shows how well a fund’s past returns have
compensated shareholders for the amount of risk it has taken on.” This measurement
emphatically favors the Index suite. Each Fidelity Freedom Index fund bears a higher star rating
than the corresponding Active fund (other than the 2055 Index Fund, which has the same 4 stars
as the 2055 Active Fund). With the exception of the 2020, 2055, and 2060 iterations (each 4
stars), the full Index suite is assigned 5 stars, Morningstar’s highest rating. The risk-adjusted
returns of funds with a 5-star rating rank in the top 10% of their peers. The Active suite does not

achieve a single 5-star rating. Defendants were likely aware, or should have been aware, of the

 

1143019 Target-Date Fund Landscape: Simplifying the Complex.”
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higher ratings of the Index suite, yet continued to offer the Active suite, to the detriment of Plan
participants,

Morningstar Ratings
Freedom Suite Ticker Stars Freedom Index Suite Ticker Stars

Income K FNSHX 4 {Income Inst Prem FFGZX 5
2005 K FSNJX 4 2005 Inst Prem FFGFX 5
2010 K FSNKX 3 2010 Inst Prem FFWTX 5
2015 K FSNLX 3 2015 Inst Prem FIWFX 5
2020 K FSNOX 3 2020 Inst Prem FIWTX 4
2025 K FSNPX 3 2025 Inst Prem FFEDX 5
2030 K FSNQX) 4 |2030Inst Prem FFEGX 5
2035 K FSNUX 4 (2035 Inst Prem FFEZX 5
2040 K FSNVX 3 (2040 Inst Prem FFIZX 5
2045 K FSNZX 3 2045 Inst Prem FFOLX 5
2050 K FNSBX 3 2050 Inst Prem FFOPX 5
2055 K FNSDX 4 2055 Inst Prem FFLDX 4
2060 K FNSFX 3 ©2060 Inst Prem FFLEX 4
Vv. The Active Suite’s Inferior Performance

39. In the period following the strategy overhaul in 2013 and 2014, the Active suite’s
higher levels of risk have failed to produce substantial outperformance when compared to the
Index suite. While assuming significantly higher levels of risk with investor dollars (and among
them, the Plan participants’ hard-earned savings), the Active suite has simply failed to measure
up to the returns produced by its index cousin, in which the Plan participants’ assets would be
significantly better off. Since the strategic changes took effect in 2014, the Index suite has
outperformed the Active suite in four out of six calendar years. Broadening the view to
historical measures that encompass a period closer to a full market cycle, the Active suite has

substantially underperformed the Index suite on a trailing three- and five-year basis:

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3-Year Trailing Performance as of 5/31/20
Freedom Suite Return Freedom Index Suite Return Difference

Income K 4.03% Income Inst Prem 5.05% -1.02%
2005 K 4.39% 2005 Inst Prem 5.44% -1,05%
2010 K 4.66% 2010 Inst Prem 5.73% -1.07%
2015 K 4.85% 2015 Inst Prem 6.01% -1.16%
2020 K 4.95% 2020 Inst Prem 6.17% -1.22%
2025K 5.08% |2025 Inst Prem 6.32% -1,.24%
2030 K 5.38% 2030 Inst Prem 6.68% -1.30%
2035 K 5.25% |2035 Inst Prem 6.63% -1.38%
2040 K 5,00% 2040 Inst Prem 6.38% -1.38%
2045 K 5.02% 2045 Inst Prem 6.38% 71.36%
2050 K 4.96% 2050 Inst Prem 6.39% -1.43%
2055 K 5.00% 2055 Inst Prem 6.39% -1.39%
2060 K 4,99% 2060 Inst Prem 6.37% -1.38%

5-Year Trailing Performance as of 5/31/20
Freedom Suite Return Freedom Index Suite Return Difference

income K 3.78% Income Inst Prem 4.06% -0.28%
2005 K 4.21% |2005 Inst Prem 4.54% -0.33%
2010 K 4.57% 2010 Inst Prem 4.92% -0.35%
2015 K 4.87% 2015 Inst Prem 5.29% -0.42%
2020 K 5.03% 2020 Inst Prem 5.51% -0.48%
2025 K 5.17% 2025 Inst Prem 5.71% -0.54%
2030 K 5.59% 2030 Inst Prem 6.20% -0.61%
2035 K 5.68% | 2035 Inst Prem 6.38% -0.70%
2040 K 5.55% 2040 Inst Prem 6.25% -0.70%
2045 K 5.55% 2045 Inst Prem 6.25% -0.70%
2050 K 5,53% 2050 Inst Prem 6.25% -0.72%
2055 K 5.53% |2055 Inst Prem 6.24% -0.71%
2060 K 5.51% 2060 Inst Prem 6.23% -0.72%

40. It is unclear at what point in 2014 the Active suite’s major strategic changes were
implemented, but using a start date of January 1, June 30, or December 31, 2014, the Index suite
has outperformed the Active suite to date. Investing research and information websites
commonly show the growth of $10,000 invested in a mutual fund and a benchmark over a period
to provide a comparison of returns in a simple-to-understand format. Using this method to
compare the two suites, at each proposed start date, across every vintage of the fund families, the

Index suite would have earned investors significantly greater sums on a $10,000 investment.

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Defendants breached their fiduciary duty to Plan participants by choosing to select and retain the
Active suite, thus causing Plan participants to miss out on greater investment returns for their
retirement savings.
2. The Plan’s Objectively Imprudent Investment Options

41. In addition to the Active suite, Defendants have saddled participants with
additional objectively imprudent investment options. It is a basic principle of investment theory
that the risks associated with an investment must first be justified by its potential returns for that
investment to be rational. This principle applies even before considering the purpose of the
investment and the needs of the investor, such as the retirement assets here. The Capital Asset
Pricing Mode! (“CAPM”), which is used for pricing securities and generating expected returns
for assets given the risk of those assets and the cost of capital, provides a mathematical formula
distilling this principle:

ERi=RABi(ERm—Rf), where:

ERi=expected return of investment

RFrisk-free rate

Bi=beta of the investment

(ERm—Rf)=market risk premium
Applied here and put simply, the fi is the risk associated with an actively-managed mutual fund
or collective trust, which can only be justified if the ERi of the investment option is, at the very

least, above that of its benchmark, Rf.'* Otherwise, the model collapses, and it would be

imprudent to assume any risk without achieving associated return above the benchmark returns.

 

Jn this instance, the index benchmark takes place of the “risk-free” rate, as the investment option is measured against
the performance of that investment category, rather than the typical U.S. Treasury Bonds or equivalent government
security in a general CAPM calculation.

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i. The Harbor Capital Appreciation Fund

42. The Harbor Capital Appreciation Fund Institutional Class has consistently and

significantly underperformed its benchmark, the Russell 1000 Growth Index, on both a rolling

five- and 10-year basis:

§5-Year Trailing Performance

 

 

 

 

 

 

 

 

 

 

As of Performance, Russell 1000 =| Investment Option
adjusted for Growth Index | Performance/Underperformance
investment Benchmark Compared to Benchmark
expense

4Q2014 14.48% 15.81% -1.33%

4Q2015 14.35% 13.53% 0.82%

4Q2016 13.96% 14.50% -0.54%

4Q2017 17.81% 17.33% 0.48%

4Q2018 10.29% 10.40% -0,11%

492019 14.62% 14.63% -0.01%

 

 

Harbor Capital Appreciation Fund Inst 5-Year
Trailing Outperformance v Benchmark

2014 2018
1.00%

0.50%

0.00%

-0.50%

-L00%

-150%

2016

2017

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2018 2019

 
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10-Year Trailing Performance

 

 

 

 

 

 

 

 

 

 

 

 

As of Performance, Russell 1000 Investment Option
adjusted for Growth Index | Performance/Underperformance
investment Benchmark Compared to Benchmark
expense

4Q2014 8.67% 8.49% 0.18%

4Q2015 8.38% 8.53% -0.15%

4Q2016 8.01% 8.33% -0.32%

4Q2017 10.15% 10.00% 0.15%

4Q2018 15.27% 15.29% -0.02%

4Q2019 14.55% 15.22% -0.67%

Harbor Capital Appreciation Fund Inst 10-Year
Trailing Outperformance v Benchmark
2014 2015 2016 2017 2018 2019
0.30%
0.20%

0.10% [|

0.00% LI —

0.10% a

0.20%

-0.30%

-0.40%

-0.50%

-0.60%

-0.70%

-0.80%

43, Indeed, by the end of the first quarter of 2020, the fund had trailed its benchmark

over the preceding 10 years by 17 basis points (0.17%).

44, When the investment option’s track record is so apparently poor, as it is here,

Defendants should necessarily replace the fund in the Plan with an alternative that has

demonstrated the ability to consistently outperform the benchmark, or, at the very least, retain an

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alternative that tracks the benchmark. By way of example and to illustrate, there is a Vanguard
Russell 1000 Growth Index Fund that simply tracks the Russell 1000 Growth Index, with a very
low expense ratio of 7 basis points (0.07%) for the Institutional share class. While participants
should have had the option to achieve the index’s returns at minimal cost, Defendants’
imprudence in retaining the Harbor Capital Appreciation Fund instead forced them to pay 67
basis points (0.67%) to consistently lag the index. Defendants’ failure to replace this
underachieving investment option with better performing alternatives was a breach of fiduciary
duty.
ii. The Glenmede Small-Cap Equity Portfolio

45. The Glenmede Small-Cap Equity Portfolio Institutional Class has consistently and

significantly underperformed both its benchmark, the Russell 2000 Index, and its peer group (as

defined by Morningstar) since 2014:

Annual Return v. Benchmark and Peer Group

 

 

 

 

 

 

 

Year | Performance, | Performance/Under | Performance/Underperformance
adjusted for performance Compared to Morningstar Peer
investment Compared to Group
expense Benchmark

2014 =| 3.28% -1.61% -0.52%

2015 = | -2.74% 1.67% 2.64%

2016 | 18.33% -2,98% -2.44%

2017 = | 15.98% 1.33% 3.70%

2018 | -15.72% -4.71% -3.00%

2019 | 21.33% -4.19% -2.43%

 

 

 

 

 

 

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Glenmede Small-Cap Equity Portfolio Fund Inst
Annual Outperformance v Benchmark

2014 2015 2016 2017 2018 2019
2.00%

1.00% [ [|
0.00%

-1.00% i

-2.00%

-3.00%

~4,00%

5.00%

-6.00%

Glenmede Small-Cap Equity Portfolio Fund Inst
Annual Outperformance v Peers
2014 2015 2016 2017 2018 2019
5.00%
4.00%
3.00%
2,00%
1.00%

0.00% P|
-1,00%
-2.00% i i il
3.00%

4.00%

46. Once again, it is objectively imprudent to retain an investment option that does

not consistently outperform or, at the very minimum, meet its benchmark. The imprudent

retention is exacerbated when the investment also persistently lags the returns of its peers. When

the investment option’s track record is so apparently poor, as it is here, Defendants should

necessarily replace the fund in the Plan with an alternative that has demonstrated the ability to

consistently outperform the benchmark, or, at the very least, retain an alternative that tracks the

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benchmark. By way of example and to illustrate, there is a Vanguard Russell 2000 Index Fund
that simply tracks the Russell 2000 Index, with a very low expense ratio of 8 basis points
(0.08%) for the Institutional share class. While participants should have had the option to
achieve the index’s returns at minimal cost, Defendants’ imprudence in retaining the Glenmede
Small-Cap Portfolio instead forced them to pay 73 basis points (0.73%), to consistently lag the
index. Defendants’ failure to replace this underachieving investment option with better
performing alternatives was a breach of fiduciary duty.
iii. | The Invesco Growth and Income Fund

47. The Invesco Growth and Income Fund RS Class!? does not exhibit the same
consistent year over year underperformance as the other poor options in the Plan’s lineup. Both
its trailing and calendar year performance metrics have vacillated between decent and poor
compared to its benchmark, the Russell 1000 Value Index. The downside has been severe,
however, and the fund has not demonstrated the ability to reliably recapture the losses. By the
most recent quarter end (March 31, 2020), the fund’s returns lagged those of its benchmark by an
astounding 175 basis points (1.75%) over the trailing five years and 178 basis points over the
trailing 10 years. The fund’s performance also looks terrible when measured against its peers.
In Morningstar’s most recent peer rankings (as of May 31, 2020), the Growth and Income Fund
languishes in the 74" percentile over the trailing five years and the 66" percentile over the
trailing 10 years. The fund’s “down” years, however, have been sufficiently dramatic as to

render its retention in the Plan imprudent.

 

That the Plan is invested in the R5 share class is assumed based on the most recent share class information provided
in the Plan’s Form 3500 filings. The 5500s for 2016-2018 neglect to list a share class, but the 2015 filing identifies
the share class as R5.

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48. Defendants should necessarily replace the fund in the Plan with an alternative that
has demonstrated the ability to consistently outperform the benchmark, or, at the very least,
retain an alternative that tracks the benchmark. For example, the Vanguard Russell 1000 Value
Index Fund, which simply tracks the Russel! 1000 Value Index, could have saved participants the
178 basis points of average annual underperformance suffered by the Growth and Income Fund,
at the very low expense ratio of 7 basis points (0.07%) for the Institutional share class. While
participants should have had the option to achieve the index’s substantially better returns at
minimal cost, Defendants’ imprudence in retaining the Growth and Income Fund instead forced
them to pay 49 basis points (0.49%) to dramatically lag the index. Defendants’ failure to replace
this underachieving investment option with better performing alternatives was a breach of
fiduciary duty.

3. The Plan’s Excessive Recordkeeping Costs

49. Another obvious indicator of Defendants’ breach of their fiduciary duties is the
Plan’s excessive recordkeeping costs. Fidelity receives compensation for its recordkeeping
services in the amount of 0.07% of the Plan’s assets annually. The total fee is deducted from
participant accounts pro rata based upon their balance. As the Plan’s total asset level has grown
in size, due to contributions and the rise of the market, Fidelity has received more compensation
even though the level of services it provides to the Plan has remained constant. According to one
industry publication,'* the average cost for recordkeeping and administration in 2017 for plans
much smaller than the Plan (plans with 100 participants and $5 million in assets) was $35 per
participant. As of December 31, 2018, the Plan had over $1.1 billion in assets and 14,528

participants. Given its size, and resulting negotiating power, with prudent management and

 

The 401k Averages Book (20" ed.).
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administration, the Plan would have unquestionably been able to obtain a per-participant cost
significantly lower than $35 per participant.

50. Despite the size and negotiating power of the Plan, the per-participant fees for
recordkeeping costs alone exceeded the above benchmark during the pertinent period, and have

continued to grow more excessive as the Plan’s asset levels have swelled:

 

 

 

 

 

 

 

 

 

 

Year Per-Participant Recordkeeping Fee
2014 $42.98
2015 $43.44
2016 $49.77
2017 $57.90
2018 $54.02
51. Assuch, it is clear that Defendants either engaged in virtually no examination,

comparison, or benchmarking of the recordkeeping fees of the Plan to those of other similarly-
sized 401(k) plans, or were complicit in paying grossly excessive fees. Had Defendants
conducted any examination, comparison, or benchmarking, Defendants would have known that
the Plan was compensating Fidelity at progressively more inappropriate levels as the Plan grew
in size. Plan participants bear this increasing fee burden and, accordingly, achieve considerably
lower retirement savings, since the excessive fees, particularly when compounded, have a
damaging impact upon the returns attained by participant retirement savings.

52. By failing to recognize that the Plan and its participants were being charged much
higher fees than they should have been and/or failing to take effective remedial actions,

Defendants breached their fiduciary duties to the Plan.

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V. ERISA’S FIDUCIARY STANDARDS
53. ERISA imposes strict fiduciary duties of loyalty and prudence upon the
Defendants as fiduciaries of the Plan. 29 U.S.C. § 1104(a), states, in relevant part, as follows:

[A] fiduciary shall discharge his duties with respect to a plan
solely in the interest of the participants and beneficiaries and -

(A) _ for the exclusive purpose of
(i) providing benefits to participants and their
beneficiaries; and
(ii) | defraying reasonable expenses of administering the plan;
(and)

(B) — with the care, skill, prudence, and diligence under the
circumstances then prevailing that a prudent man acting in a like
capacity and familiar with such matters would use in the conduct
of an enterprise of like character and with like aims.

54. Under 29 U.S.C. § 1103(c)(I), with certain exceptions not relevant here, the assets
of a plan shall never inure to the benefit of any employer and shall be held for the exclusive
purposes of providing benefits to participants in a plan and their beneficiaries and defraying
reasonable expenses of administering the plan.

55. Under ERISA, fiduciaries that exercise any authority or control over plan assets,
including the selection of plan investments and service providers, must act prudently and solely
in the interest of participants in a plan.

56.  ERISA’s fiduciary duties are “the highest known to the law” and must be
performed “with an eye single” to the interests of participants.

57. ERISA also imposes explicit co-fiduciary liabilities on plan fiduciaries. 29 U.S.C.

§ 1105(a) provides a cause of action against a fiduciary for knowingly participating in a breach

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by another fiduciary and knowingly failing to cure any breach of duty. ERISA states, in relevant
part, as follows:

In addition to any liability which he may have under any other
provision of this part, a fiduciary with respect to a plan shall be liable
for a breach of fiduciary responsibility of another fiduciary with
respect to the same plan in the following circumstances:

(1) if he participates knowingly in, or knowingly
undertakes to conceal, an act or omission of such
other fiduciary, knowing such act or omission is a
breach; or

(2) if, by his failure to comply with section 404{a)(I) in
the administration of his specific responsibilities
which give risk to his status as a fiduciary, he has
enabled such other fiduciary to commit a breach; or

(3) if he has knowledge of a breach by such other fiduciary,
unless he makes reasonable efforts under the
circumstances to remedy the breach.

58. 290U.S.C. § 1132(a)(2) authorizes a plan participant to bring a civil action to
enforce a breaching fiduciary’s liability to the plan under 29 U.S.C. § 1109. Section 1109(a)
provides, in relevant part:

Any person who is a fiduciary with respect to a plan who breaches
any of the responsibilities, obligations, or duties imposed upon
fiduciaries by this subchapter shall be personally liable to make
good to such plan any losses to the plan resulting from each such
breach, and to restore to such plan any profits of such fiduciary
which have been made through use of assets of the plan by the
fiduciary, and shal] be subject to such other equitable or remedial
relief as the court may deem appropriate, including removal of
such fiduciary.

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VI. CLASS ALLEGATIONS
59. This action is brought as a class action by Plaintiff on behalf of herself and the
following proposed class (“Class”):
All participants and beneficiaries in the Paychex, Inc. 401(k) Incentive
Retirement Plan (the “Plan’”) at any time on or after June 30, 2014 to the
present (the “Class Period”), including any beneficiary of a deceased
person who was a participant in the Plan at any time during the Class
Period.
Excluded from the Class are Defendants and the Judge to whom this case is assigned or any
~ other judicial officer having responsibility for this case who is a beneficiary.
60. This action may be maintained as a class action pursuant to Rule 23 of the Federal
Rules of Civil Procedure.
61. Numerosity. Plaintiff is informed and believes that there are at least thousands of
Class members throughout the United States. Asa result, the members of the Class are so
numerous that their individual joinder in this action is impracticable.
62. Commonality. There are numerous questions of fact and/or law that are common
to Plaintiff and all the members of the Class, including, but not limited to the following:

(a) Whether Defendants failed and continue to fail to discharge their duties with
respect to the Plan solely in the interest of the Plan’s participants for the exclusive purpose of
providing benefits to participants and their beneficiaries;

(b) | Whether Defendants breached their fiduciary duties under ERISA by failing to
defray the reasonable expenses of administering the Plan; and

(c) Whether and what form of relief should be afforded to Plaintiff and the Class.

63. Typicality. Plaintiff, who is a member of the Class, has claims that are typical of

all of the members of the Class. Plaintiff's claims and all of the Class members’ claims arise

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out of the same uniform course of conduct by Defendants and arise under the same legal
theories that are applicable as to all other members of the Class.

64. Adequacy of Representation. Plaintiff will fairly and adequately represent the
interests of the members of the Class. Plaintiff has no conflicts of interest with or interests that
are any different from the other members of the Class. Plaintiff has retained competent counsel
experienced in class action and other complex litigation, including class actions under ERISA.

65. Potential Risks and Effects of Separate Actions. The prosecution of separate

actions by or against individual Class members would create a risk of: (A) inconsistent or
varying adjudications with respect to individual Class members that would establish
incompatible standards of conduct for the party opposing the Class; or (B) adjudications with
respect to individual class members that, as a practical matter, would be dispositive of the
interests of the other members not parties to the individual adjudications or would substantially
impair or impede their ability to protect their interests.

66. Predominance. Common questions of law and fact predominate over questions
affecting only individual Class members, and the Court, as well as the parties, will spend the
vast majority of their time working to resolve these common issues. Indeed, virtually the only
individual! issues of significance will be the exact amount of damages recovered by each Class
member, the calculation of which will ultimately be a ministerial function and which does not
bar Class certification.

67. Superiority. A class action is superior to all other feasible alternatives for the
resolution of this matter. The vast majority, if not all, of the Class members are unaware of
Defendants’ breaches of fiduciary duty and prohibited transactions such that they will] never

bring suit individually. Furthermore, even if they were aware of the claims they have against

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Defendants, the claims of virtually all Class members would be too small to economically
justify individual litigation. Finally, individual litigation of multiple cases would be highly
inefficient, a gross waste of the resources of the courts and of the parties, and potentially could
lead to inconsistent results that would be contrary to the interests of justice.

68. Manageability. This case is well-suited for treatment as a class action and easily
can be managed as a class action since evidence of both liability and damages can be adduced,
and proof of liability and damages can be presented, on a Class-wide basis, while the allocation
and distribution of damages to Class members would be essentially a ministerial function.

69. Defendants have acted on grounds generally applicable to the Class by uniformly
subjecting them to the breaches of fiduciary duty described above. Accordingly, injunctive
relief, as well as legal and/or equitable monetary relief (such as disgorgement and/or
restitution), along with corresponding declaratory relief, are appropriate with respect to the
Class as a whole.

70. Plaintiff's counsel will fairly and adequately represent the interests of the Class
and are best able to represent the interests of the Class under Rule 23(g) of the Federal Rules of
Civil Procedure. Moreover, treating this case as a class action is superior to proceeding on an
individual basis and there will be no difficulty in managing this case as a class action.

71. Therefore, this action should be certified as a class action under Rules 23(a) and
23(b)(1) and/or 23(b)(3).

COUNT I
(For Breach of Fiduciary Duty)

72. Plaintiff incorporates by reference the allegations in the previous paragraphs of

this Complaint as if fully set forth herein.

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73. Defendants’ conduct, as set forth above, violates their fiduciary duties under
ERISA § 404(a)(1)(A), (B) and (D), 29 U.S.C. § 1104(a)(1)(A), (B) and (D), in that Defendants
failed and continue to fail to discharge their duties with respect to the Plan solely in the interest
of the Plan’s participants and beneficiaries and (a) for the exclusive purpose of (i) providing
benefits to participants and their beneficiaries; and (ii) defraying reasonable expenses of
administering the Plan with (b) the care, skill, prudence, and diligence under the circumstances
then prevailing that a prudent man acting in a like capacity and familiar with such matters would
use in the conduct of an enterprise of a like character and with like aims, and (c) by failing to act
in accordance with the documents and instruments governing the Plan. In addition, as set forth
above, Defendants violated their respective fiduciary duties under ERISA to monitor other
fiduciaries of the Plan in the performance of their duties.

74. To the extent that any of the Defendants did not directly commit any of the
foregoing breaches of fiduciary duty, at the very minimum, each such Defendant is liable under
29 U.S.C. § 1105(a) because he, she, they or it was a co-fiduciary and knowingly participated in
(or concealed) a breach by another fiduciary, enabled another fiduciary to commit breaches of
fiduciary duty in the administration of his, her, their or its specific responsibilities giving rise to
his, her, their or its fiduciary status and/or knowingly failing to cure a breach of fiduciary duty by
another fiduciary and/or failed to take reasonable efforts to remedy the breach.

75, As a direct result of Defendants’ breaches of duties, the Plan has suffered losses
and damages.

76. Pursuant to ERISA § 409, 29 U.S.C. § 1109, and ERISA § 502, 29 U.S.C. § 1132,
Defendants are liable to restore to the Plan the losses that have been suffered as a direct result of

Defendants’ breaches of fiduciary duty and are liable for damages and any other available

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equitable or remedial relief, including prospective injunctive and declaratory relief, and
attorneys’ fees, costs and other recoverable expenses of litigation.

COUNT II
(Failure to Monitor Fiduciaries and Co-Fiduciary Breaches)

77. Plaintiff incorporates the allegations in the previous paragraphs of this Complaint
as if fully set forth herein.

78. Paychex is responsible for appointing, overseeing, and removing members of the
Administrative Committee, who, in turn, are responsible for appointing, overseeing, and
removing members of the Committee.

79. In light of its appointment and supervisory authority, Paychex had a fiduciary
responsibility to monitor the performance of the Committee and its members. In addition,
Paychex, and the Administrative Committee had a fiduciary responsibility to monitor the
performance of the members of the Committee.

80. A monitoring fiduciary must ensure that the monitored fiduciaries are performing
their fiduciary obligations, including those with respect to the investment and holding of Plan
assets, and must take prompt and effective action to protect the Plan and participants when they
are not.

81. To the extent that fiduciary monitoring responsibilities of Paychex or the
Committee was delegated, each Defendant’s monitoring duty included an obligation to ensure
that any delegated tasks were being performed prudently and loyally.

82. Paychex and the Committee breached their fiduciary monitoring duties by, among
other things:

(a) Failing to monitor and evaluate the performance of their appointees or have a

system in place for doing so, standing idly by as the Plan suffered enormous losses as

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a result of the appointees’ imprudent actions and omissions with respect to the Plan;
(b) Failing to monitor their appointees’ fiduciary processes, which would have alerted
a prudent fiduciary to the breaches of fiduciary duties described herein, in clear
violation of ERISA; and

(c) Failing to remove appointees whose performances were inadequate in that they
continued to maintain imprudent, excessively costly, and poorly performing
investments within the Plan, all to the detriment of the Plan and its participants’
retirement savings.

83. As a consequence of these breaches of the fiduciary duty to monitor, the Plan
suffered substantial losses. Had Paychex and the Committee discharged their fiduciary
monitoring duties prudently as described above, the losses suffered by the Plan would have been
minimized or avoided. Therefore, as a direct result of the breaches of fiduciary duties alleged
herein, the Plan and its participants have lost millions of dollars of retirement savings.

84, Paychex and the Committee are liable under 29 U.S.C. § 1109(a) to make good to
the Plan any losses to the Plan resulting from the breaches of fiduciary duties alleged in this
Count, to restore to the Plan any profits made through use of Plan assets, and are subject to other
equitable or remedial relief as appropriate.

85. Each of the Defendants also knowingly participated in the breaches of the other
Defendants, knowing that such acts were a breach; enabled the other Defendants to commit a
breach by failing to lawfully discharge their own fiduciary duties; and knew of the breaches by
the other Defendants and failed to make any reasonable effort under the circumstances to remedy
the breaches. Defendants, thus, are liable for the losses caused by the breaches of their co-

fiduciaries under 29 U.S.C. § 1105(a).

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COUNT It
(In the Alternative, Liability for Knowing Breach of Trust)

86. Plaintiff incorporates the allegations in the previous paragraphs of this Complaint
as if fully set forth herein.

87. In the alternative, to the extent that any of the Defendants are not deemed a
fiduciary or co-fiduciary under ERISA, each such Defendant should be enjoined or otherwise
subject to equitable relief as a non-fiduciary from further participating in a knowing breach of
trust.

88. To the extent any of the Defendants are not deemed to be fiduciaries and/or are
not deemed to be acting as fiduciaries for any and all applicable purposes, any such Defendants
are liable for the conduct at issue here, since al! Defendants possessed the requisite knowledge
and information to avoid the fiduciary breaches at issue here and knowingly participated in
breaches of fiduciary duty by permitting the Plan to offer a menu of poor and expensive
investment options that cannot be justified in light of the size of the Plan and other expenses of
the Plan.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of herself, the Class and the Plan, demands judgment
against Defendants for the following relief:

(a) Declaratory and injunctive relief pursuant to ERISA § 502, 29 U.S.C. § 1132, as

detailed above;

(b) — Equitable, legal or remedial relief to return all !osses to the Plan and/or for

restitution and/or damages as set forth above, plus all other equitable or remedial relief as

the Court may deem appropriate pursuant to ERISA §§ 409 and 502, 29 U.S.C. §§ 1109

and 1132;

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(c) Pre-judgment and post-judgment interest at the maximum permissible rates,

whether at law or in equity;

(d) Attorneys’ fees, costs and other recoverable expenses of litigation; and

(e) Such further and additional relief to which the Plan may be justly entitled and the

Court deems appropriate and just under all of the circumstances.

JURY DEMAND

Plaintiff demands a jury trial with respect to al! claims so triable.

NOTICE PURSUANT TO ERISA § 502(h)

To ensure compliance with the requirements of ERISA § 502(h), 29 U.S.C. § 1132(h),

the undersigned hereby affirms that, on this date, a true and correct copy of this Complaint was

served upon the Secretary of Labor and the Secretary of the Treasury by certified mail, return

receipt requested.

DATED: June 30, 2020

/s/ Catherine Creighton
Catherine Creighton

Creighton Johnsen & Giroux
1103 Delaware Avenue
Buffalo, NY 14209
Telephone: (716) 854-0007
Facsimile: (716) 854-0004

Email: ccreighton@cpjgiaborlaw.com

James E, Miller

Laurie Rubinow

Shepherd Finkelman Miller & Shah, LLP

65 Main Street

Chester, CT 06412

Telephone: (860) 526-1100

Facsimile: (866) 300-7367

Email: jmiller@sfmsiaw.com
lrubinow@)sfmslaw.com

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James C. Shah

Michael P. Ols

Alec J. Berin

Shepherd Finkelman Miller & Shah, LLP
1845 Walnut Street, Suite 806
Philadelphia, PA 19103

Telephone: (610) 891-9880

Facsimile: (866) 300-7367

Email: jshah@sfmslaw.com

aberinf@sfmslaw.com

 

Kolin C. Tang

Shepherd Finkelman Miller & Shah, LLP
1401 Dove Street, Suite 510

Newport Beach, CA 92660

Telephone: (323) 510-4060

Facsimile: (866) 300-7367

Email: ktang(@sfmslaw.com

Attorneys for Plaintiff, the Plan
and the Proposed Class

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